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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

I, Cameron Mizell, being first duly sworn, hereby depose and states as follows:

                               PURPOSE OF THE AFFIDAVIT

       1.      This affidavit is submitted in support of a Criminal Complaint for JOSHUA

DILLON HAYNES, charging violations of 18 U.S.C. § 1752(a)(1), (2), and (4), 18 U.S.C. §

1512 (c)(2) and 2, 18 U.S.C. § 1363, and 40 U.S.C. § 5104(e)(2)(D), (F), and (G).

                                BACKGROUND OF AFFIANT

       2.      I am a Special Agent assigned to the Federal Bureau of Investigation (FBI). I am

currently assigned to FBI Washington Field Office (WFO). Currently, I am tasked with

investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a

Special Agent, I am authorized by law or by a Government agency to engage in or supervise the

prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

       3.      Unless otherwise stated, the information in this Affidavit is either personally

known to me, has been provided to me by other individuals, or is based on a review of various

documents, records, and reports. Because this Affidavit is submitted for the limited purpose of

establishing probable cause to support an application for an arrest warrant, it does not contain

every fact known by me or the United States. The dates listed in this Affidavit should be read as

“on or about” dates.



              STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                          Background – The U.S. Capitol on January 6, 2021

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by
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U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also

closed to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to

keep the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of the U.S. Capitol Police, as others

in the crowd encouraged and assisted those acts.



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          8.    Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the

joint session of the United States Congress was effectively suspended until shortly after 8:00

p.m. Vice President Pence remained in the United States Capitol from the time he was evacuated

from the Senate Chamber until the sessions resumed.

          9.    After the U.S. Capitol was breached, United States Capitol Police (USCP)

requested assistance from law enforcement agencies in the area to protect the Capitol, keep

people from entering the Capitol, and expel the crowd that was inside the Capitol. Multiple

officers with the Metropolitan Police Department and other law enforcement officers came to

assist.

          10.   During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the U.S.

Capitol building without authority to be there.

          11.   Additionally, news coverage of January 6, 2021, documented numerous attacks

on members of the news media who were present to cover the events at, around, and in the U.S.

Capitol building. These included reports of members of the news media being harassed,

threatened, robbed, and assaulted based on their perceived roles as journalists, and equipment

belonging to several news organizations was stolen, damaged, and/or destroyed.

                                Facts Specific to This Complaint

          12.   At approximately 4:50 p.m., on January 6, 2021, a large crowd made its way to

and/or past a media staging area that was set up outside the northeast corner of the U.S. Capitol,

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on U.S. Capitol grounds. As individuals moved past metal barricades that had been set up

around the staging area, media members were forced to flee the area before recovering all their

cameras and associated equipment. Numerous members of the crowd began to destroy the

equipment, including cameras, tripods, lights, shades, and remote broadcasting equipment that

belonged to various media outlets. Numerous members of the crowd yelled inflammatory

rhetoric against the members of the media. One member of the media who was forced to flee the

scene estimated that the equipment from his particular news organization that was destroyed was

valued at between $30,000 and $34,000. The image in Figure 1 depicts the staging area after the

members of the news media had been forced to flee.

                                            Figure 1




       13.     On February 4, 2021, the FBI posted to its website Photographs #203-

AOM (“assault on media”) A-D, seeking the public’s assistance identifying an individual who

made unlawful entry into the U.S. Capitol Building and/or assaulted members of the media. As


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captured in several publicly posted videos and images, the man pictured in Photographs #203-

AOM A-D participated in the assault on the media staging area at the northeast side of the U.S.

Capitol at approximately 5 p.m. on January 6, 2021. Specifically, the man depicted in

Photographs #203-AOM A-D, later identified as JOSHUA DILLON HAYNES, picked up and

slammed down multiple pieces of equipment that belonged to media outlets.

       14.     A publicly available image located at

URL: https://www.gettyimages.com/detail/news-photo/demonstrators-destroy-broadcast-video-

equipment-outside-the-news-photo/1230458766?adppopup=true (Figure 2, below) depicts the

subject later identified as HAYNES lifting and preparing to throw to the ground a light used by

the media for live broadcasts.

                                             Figure 2




       15.     A publicly available video posted to Twitter located at URL:

https://twitter.com/Journo_Christal/status/1346945835368501249 depicts the subject later

identified as HAYNES lifting and slamming to the ground what appears to be a video camera

fixed to a tripod. After slamming the tripod on the ground, the subject later identified as



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HAYNES then stomped on the camera and picked it up and threw it onto a pile of other

equipment.

         16.   A publicly available video, located at URL:

https://youtu.be/ebh0o4BdKLs, depicts the subject later identified as HAYNES inside the U.S.

Capitol Crypt earlier in the day on January 6, 2021. The U.S. Capitol Crypt is a large circular

room filled with numerous columns. It is directly beneath the Capitol Rotunda in the center of

the Capitol. The subject later identified as HAYNES appeared on screen in this video at

approximately 18 seconds into the video and had his head and face coverings removed. In a still

photo from that video, Figure 3, below, the subject later identified as HAYNES was wearing the

same moto-style leather jacket with an American flag bandana tied around his left bicep, yellow

bandana/neck gaiter around his neck, black pants, black head covering pulled down around his

neck, and distinctive black shoes with bright green/yellow detailing as was worn in Figure 2,

above.

                                             Figure 3




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         17.   A publicly available video, located at https://vimeo.com/498179103, depicts the

subject later identified as HAYNES assisting two other individuals in forcibly removing an air-

conditioning unit from a building outside the United States Capitol and dropping the air-

conditioning unit to the ground. Still photos from that video are depicted in Figures 4A and 4B,

below.

                                       Figures 4A and 4B




         18.   On February 6, 2021, an E-Tip was submitted to the FBI that provided a possible

identity for Photographs #203-AOM A-D as JOSHUA DILLON HAYNES, of Covington,

Virginia. The tipster utilized a publicly available facial recognition software program that

matched photos for Photographs #203-AOM A-D to a photo from a post from Parler profile

@JoshuaDillonHaynes. Your affiant was not able to access the Parler profile as of the date of

the E-Tip submission to the FBI.

         19.   A database query for the name JOSHUA DILLON HAYNES produced one

identical match with a driver’s license listing an address in Covington, Virginia.

         20.   Subscriber records from Parler for profile @JoshuaDillonHaynes identified a

creation date of November 13, 2020, as well as a phone number associated with the profile, a


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Yahoo email address associated with the profile, and a signup IP address which resolves to

Covington, Virginia.

       21.     Subscriber records from Verizon for the phone number associated with the Parler

profile produced the subscriber as JOSHUA HAYNES of Covington, Virginia.

       22.     Subscriber records from Yahoo for the email address associated with the Parler

profile produced the subscriber of JOSHUA HAYNES, with a postal code that resolves to Irving,

Texas, and a registration IP address which resolves to Rowlett, Texas, as well as the same phone

number associated with the Parler profile. The most recent logon IP address for the Yahoo

account resolves to Covington, Virginia.

       23.     According to records obtained through a search warrant, the cell phone associated

with HAYNES traveled from Covington, Virginia on January 5, 2021, to the greater

Washington, D.C. area. Specifically, the cell phone associated with HAYNES left Covington,

Virginia sometime before 12:00 p.m. EST and arrived in the greater Washington, D.C. area by

approximately 3:15 p.m. EST on January 5, 2021. The cell phone associated with HAYNES

then traveled to the U.S. Capitol on January 6, 2021, and at or about the time the man depicted in

Photographs #203-AOM A-D was captured on video inside the U.S. Capitol as described above.

The cell phone associated with HAYNES was identified as having utilized a cell site consistent

with providing service to the geographic area that includes the interior of the U.S. Capitol

building.

       24.     Further analysis of the search warrant records showed that HAYNES used the cell

phone described above throughout the day on January 6, 2021, to send text messages and take

pictures. Specifically, HAYNES took several “selfies” inside the U.S. Capitol and at the media

staging area and sent the images via text messages to his associates. HAYNES sent a text message



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on January 6, 2021 to an associate (“ASSOCIATE 1”) and stated, “I’m inside Congress he stormed

inside.” A short time later, HAYNES sent the text, “we *”. HAYNES then sent the below image

(Figure 5) to ASSOCIATE 1, depicting himself inside the office of a United States Senator.



                                           Figure 5




       25.      HAYNES then sent the below images (Figures 6A and 6B) to another associate

(“ASSOCIATE 2”) along with the text, “We are inside the Congress the Senate we stormed

inside.”




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                                       Figures 6A and 6B




       26.     A text conversation with ASSOCIATE 1 continued wherein HAYNES and

ASSOCIATE 1 exchanged texts about what was being reported by the live news about the events

occurring at the U.S. Capitol. HAYNES sent ASSOCIATE 1 the text, "I'm inside."

ASSOCIATE 1 sent HAYNES the text messages, "Breaking windows to get in" and "The People

did." HAYNES replied, "I know I crawled through the window." ASSOCIATE 1 replied,

"Erase this." Later that day, HAYNES asked ASSOCIATE 1, "What did Congress do did they

certify Joe Biden?" and ASSOCIATE 1 responded "a Fri [sic] said he gave a speech all I know."

HAYNES then sent ASSOCIATE 1 the text, "No because we storm inside they stop debating

and said the army is going to have to do it decide who's president."

       27.     Later on January 6, 2021, after the equipment at the media staging area was

destroyed as described above, ASSOCATE 2 sent HAYNES a text indicating another individual

had “said dont [sic] be like antifa tearing stuff up.” HAYNES replied to ASSOCIATE 2, “ahhhh

tooooo late,” “broke lotsa stuff,” “lol.” HAYNES then sent the below image (Figure 7) via text

with the message, “We attacked the CNN reporters and the fake news and destroyed tens of

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thousands of dollars of their video and television equipment here's a picture behind me of the pile

we made out of it.” This image shows HAYNES standing in front of the destroyed equipment at

the media staging area as described above, wearing clothing matching the man depicted in

Photographs #203-AOM A-D.

                                              Figure 7




       28.     Following the text with the above image attached, HAYNES sent the following

texts to ASSOCIATE 2: “They had to run away from us and leave all their equipment so we

destroyed it” “i Kicked the fake news ass.” ASSOCIATE 2 replied, “Lmfao.” HAYNES then

sent the texts: “ahhhhh I liked it too I have already seen a report of it and I am in the video

destroying the stuff but I’m wearing a mask,” “I had to keep my face covered,” “I want to get

busted for tearing up the nations capital [sic] and the fake news.” HAYNES continued with the

following texts to ASSOCIATE 2: “Well back God we fucking stood up today that she will go

down in history for thousands of years no one is ever storm the capital [sic] like that,” “I mean

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we broke down the doors and windows and just went the fuck in,” “fight the cops push them

back and went in there.”

       29.     On February 14, 2021, HAYNES sent the below image (Figure 8) to ASSOCIATE

2 via text, showing the FBI images of Photographs #203-AOM A-D that were posted on February

4, 2021. HAYNES followed the image with the following texts: “erase immediately,” “aom =

assault on media.”

                                             Figure 8




ASSOCIATE 2 replied, “Damn.” Then HAYNES sent the below image (Figure 9) by text to

ASSOCIATE 2. Your affiant understands this emoji to be commonly used to express frustration,

embarrassment, or regret at the clumsiness or ineptness of a person or situation.




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                                              Figure 9




       30.        On June 14, 2021, law enforcement officers interviewed HAYNES at his

residence located in Covington, Virginia. HAYNES was advised at the outset of the interview of

the purpose and subject matter to be discussed during the interview, that he was not under arrest,

and that he was free to end the interview at will.

       31.        HAYNES verbally confirmed his name, DOB, SSN, address, and cell phone

number. HAYNES stated that he was willing to cooperate with the investigation in answering

questions asked by the interviewing Agents. However, HAYNES was only willing to answer

those questions that he felt comfortable answering and that there may be some questions asked

by the interviewing Agents that HAYNES would choose not to answer prior to obtaining legal

representation.

       32.        HAYNES was asked to share the specifics about his participation in the U.S.

Capitol riot on January 6, 2021. Additionally, HAYNES was asked to describe what he was

wearing that day. HAYNES advised that he was not comfortable talking about the events at the

U.S. Capitol or the clothing worn by him that day. HAYNES stated that he was deeply upset

with the contrast between how the events that occurred on January 6, 2021 at the U.S. Capitol

were being handled and how the Black Lives Matter (BLM) riots that occurred in Washington


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D.C. and elsewhere in 2020 were being handled. HAYNES told the interviewing Agents that he

believes that those who participated in the unlawful events at the U.S. Capitol were being treated

unfairly, and that those involved with the rioting and vandalism related to the BLM movement

were not being held accountable.

       33.     HAYNES stated that he disagrees with the force used by law enforcement officers

on January 6, 2021, to prevent Trump supporters from stopping the presidential election from

being stolen. HAYNES stated that he observed that some law enforcement officers were just

waiving people into the U.S. Capitol. HAYNES stated that he did not personally participate in

using force against law enforcement officers or in assaulting law enforcement officers, but he

believes that those who did use force against law enforcement officers that day to stop the

election from being stolen are “heroes.” HAYNES stated that he respects those individuals for

“having the balls” to do something about the election being stolen by fraud.

       34.     When asked what HAYNES believed the purpose of the actions taken by those

who stormed the U.S. Capitol was, he replied that he cannot speak for people individually, but he

believed that the crowd of Trump supporters were trying to keep the country from being stolen

by delaying the process of certifying the votes. HAYNES believes that those who engaged cops

physically that day or assaulted law enforcement deserve to be punished, but HAYNES believes

that a population can only be pushed so far before people begin to push back and act, which is

what happened on January 6, 2021, at the U.S. Capitol. HAYNES does not believe anyone

traveled to the U.S. Capitol that day with the intent to commit acts of violence.

       35.     HAYNES stated that if the country continues to go in the direction that it is now

going, then what happened on January 6, 2021 would not be an isolated event. HAYNES does

not believe in some of the conspiracy theories that have followed the events on January 6, 2021.



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HAYNES stated that he does not believe that anyone had firearms, and further stated that there

were no premeditated plans of an insurrection. HAYNES stated that he has not seen evidence of

gun charges on anyone and believes that some who have been arrested are being wrongfully

detained and/or imprisoned.

       36.     HAYNES told the interviewing Agents that most people at the U.S. Capitol on

January 6, 2021 who committed illegal acts did things they would never normally do, but in the

anger of the moment people trespassed, fought with cops, and some destroyed property. Haynes

stated that “something had to be done.”

       37.     HAYNES was asked if he took part in attacking the media or destroying

equipment belonging to media at the U.S. Capitol on January 6, 2021. HAYNES stated that he

was not comfortable answering that question. When asked what consequences should be faced

by someone who did attack and/or destroy media equipment, HAYNES acknowledged that those

acts were illegal and that it would be up to the courts to determine what should be done.

       38.     HAYNES stated that he was not aware of any plots to attack the U.S. Capitol on

January 6, 2021, or of any plots/plans of future attacks there or elsewhere. HAYNES provided

consent for the interviewing Agents to search his phone and his personal residence for evidence

of HAYNES’ participation in the riots at the U.S. Capitol and for the clothing worn by the

individual pictured in FBI Photograph #203-AOM A-D, to include a leather Harley Davidson

jacket and black Nike sneakers with neon yellow/green detailing. HAYNES stated that the

Agents would not find anything on his phone or in his home, but that the Agents were welcome

to search both. HAYNES signed the FD-26 Consent to Search form authorizing the search.

       39.     HAYNES unlocked his phone and handed it to the interviewing Agents to search.

A search of the phone contents was conducted in HAYNES’ presence. The text messages,



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photos, videos and other images were searched. There were no text messages and/or text history

on HAYNES’ phone. There were no images or photos of HAYNES at the U.S. Capitol on the

phone. There were no videos of HAYNES participating in the riots at the U.S. Capitol on the

phone. HAYNES was asked if he destroyed and/or deleted anything evidentiary on his phone

regarding his participation in unlawful activity at the U.S. Capitol on January 6, 2021. HAYNES

stated that he did not. The phone was subsequently returned to HAYNES.

       40.    HAYNES escorted the interviewing Agents around his home to search for the

clothing worn by the individual pictured in FBI Photograph #203-AOM A-D. HAYNES stated

that he had never owned a leather Harley Davidson jacket. HAYNES was advised that Agents

had reviewed contents from a search warrant served on the carrier of his phone and found

evidence that he once purchased a leather Harley Davidson jacket. HAYNES told the

interviewing Agents that he may have once owned a leather Harley Davidson jacket but that he

had not owned one in a long time. When asked to elaborate on what he meant by a long time,

HAYNES advised that he once owned a Harley Davidson motorcycle but laid it down on the

road in front of his home years ago and totaled it. He has not owned any Harley Davidson

clothing since that time. When asked what he did with the jacket, HAYNES stated that he did not

remember because it had been so long ago.

       41.    HAYNES was asked if he had seen his FBI Photograph from the U.S. Capitol.

HAYNES stated that he had not. While accompanying the interviewing Agents on the search of

his home, HAYNES was shown FBI Photograph #203-AOM A-D and asked if he had a pair of

shoes like the ones on the male pictured in the photographs. HAYNES stated that he did not, nor

had he ever owned a pair like them. HAYNES was asked if there was a leather Harley Davidson

jacket or pair of shoes that resembled the jacket and shoes worn by the male in FBI Photograph



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203-AOM A-D in the home currently. HAYNES stated that they were not in the home.

HAYNES was asked if he purposely destroyed and/or disposed of the jacket or the clothing and

HAYNES stated that he did not wish to answer the question. HAYNES was asked if he, through

an attorney, was asked to produce a jacket and shoes that resembled those worn by FBI

Photograph #203-AOM A-D, would he be able to do so. HAYNES stated that he would no

longer be able to produce the items of clothing even if he wished to do so.

       42.     HAYNES was asked if he was a member of the Proud Boys and replied that he

was not. HAYNES attended a Proud Boys meeting in Fredericksburg, Virginia in November or

December 2020 and had dinner with members from that chapter. HAYNES would have joined

the chapter, but it was too far away and there were no members of the Proud Boys in his local

area. HAYNES was in Washington D.C. for both Trump rallies in November and December

2020. He remained near groups of Proud Boys for protection in numbers and safety since there

were people attacked by Antifa and BLM.

       43.     The interviewing Agents continued with a consensual search of the residence for

the items of clothing. Clothing items that resembled the clothing worn by Photograph #203-

AOM A-D were not located. Upon completion of the search, HAYNES signed the secondary

page supplemental to the FD-26 Consent to Search form stating that the interviewing Agents had

conducted the search of both his phone and his residence and had seized nothing.

       44.     At the conclusion of the interview and search, HAYNES was advised that an

arrest warrant would likely be forthcoming. HAYNES was advised that any attempt to flee or

destroy evidence related to the investigation with his knowledge of the investigation would

constitute obstruction of justice and may result in additional charges. HAYNES stated that he




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intended to comply with any legal action taken against him including being cooperative with a

future arrest and/or court appearances.

       45.     As of the date of this affidavit, the FBI received at least four other E-Tips from

individuals who identified the person depicted in Photographs #203-AOM A-D as someone other

than HAYNES. One lead supplied insufficient information to make a match of Photographs

#203-AOM A-D to the person the tipster believed to be the identity of Photographs #203-AOM

A-D or a full name of the suspected identity was not supplied. In other cases, digital media and

video and/or other open-source/social media photos along with physical descriptions were

compared to photos and evidence gathered on Photographs #203-AOM-A-D and a definitive

match was not made by your affiant based on the comparison.

       46.     Based on all of the foregoing information, as well as my training and experience, I

respectfully submit that there is probable cause to believe that HAYNES violated Title 18 U.S.C.

§ 1752(a)(1), (2), and (4), which makes it a crime to (1) knowingly enter or remain in any

restricted building or grounds without lawful authority to do so; (2) knowingly, and with intent to

impede or disrupt the orderly conduct of Government business or official functions, engage in

disorderly or disruptive conduct in, or within such proximity to, any restricted building or

grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of

Government business or official functions; and (4) knowingly engage in any act of physical

violence against any person or property in any restricted building or grounds. For purposes of

Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise

restricted area of a building or grounds where the President or other person protected by the

Secret Service, including the Vice President, is or will be temporarily visiting; or any building or




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grounds so restricted in conjunction with an event designated as a special event of national

significance.

        47.     I also respectfully submit that there is probable cause to believe that HAYNES

violated Title 18 U.S.C. § 1512 (c)(2) and § 2, which makes it a crime to corruptly obstruct,

influence, or impede any official proceeding, or attempt to do so, and aid and abet in doing so.

        48.     I also respectfully submit that there is probable cause to believe that HAYNES

violated Title 40 U.S.C. § 5104(e)(2)(D), (F), and (G), which makes it a crime to (D) utter loud,

threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in

the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the

orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in

that building of a hearing before, or any deliberations of, a committee of Congress or either

House of Congress; (F) engage in an act of physical violence in the United States Capitol

Grounds; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        49.     Finally, I respectfully submit that there is probable cause to believe that HAYNES

violated Title 18 U.S.C. § 1363, which makes it a crime to, within the special maritime and

territorial jurisdiction of the United States, willfully and maliciously destroy or injure any

structure, conveyance, or other real or personal property, or attempt or conspire to do so. The

U.S. Capitol and the U.S. Capitol grounds are federal property within the special maritime or

territorial jurisdiction of the United States.




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                                             SPECIAL AGENT CAMERON MIZELL
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 22ND day of June 2021.

                                             ___________________________________
                                             ROBIN M. MERIWEATHER
                                             U.S. MAGISTRATE JUDGE




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